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NAME: Mein S.C Aa)
NUMBER: 43

Ba-Aoy
Federal Correctional Institution
P.O. Box 33

Terre Haute, [N 47808

       

  

 

 

 

 

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